










Opinion issued November 20, 2003











In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00124-CV
____________

BRIAN RITTEL, SR., Appellant

V.

ANGIE RITTELL, Appellee




On Appeal from the 306th District Court
Galveston County, Texas
Trial Court Cause No. 02FD0210




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On May 28, 2003, we ordered that unless, within 30 days of the date of the
order, appellant filed his brief and a reasonable explanation for failure to timely file
his brief, this Court would dismiss his appeal for want of prosecution.  The 30 days
have expired and appellant has not responded.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the appeal is dismissed for want of prosecution.  See Tex. R.
App. P. 38.8(a)(1).
PER CURIAM
Panel consists of Justices Hedges, Nuchia, and Higley. 


